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 1 BRYAN H. HECKENLIVELY (State Bar No. 279140)
   Bryan.heckenlively@mto.com
 2 RACHEL M. SCHIFF (State Bar No. 336643)
   Rachel.schiff@mto.com
 3 MUNGER, TOLLES & OLSON LLP
   560 Mission Street, Twenty-Seventh Floor
 4 San Francisco, California 94105-2907
   Telephone:    (415) 512-4000
 5 Facsimile:    (415) 512-4077

 6 Attorneys for Defendants

 7

 8                                UNITED STATES DISTRICT COURT

 9                 NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
10

11 ELIZABETH WEISS,                                    Case No. 5:22-cv-00641-BLF

12                 Plaintiff,                          [PROPOSED] ORDER COMPELLING
                                                       PRODUCTION OF INFORMATION
13          vs.                                        SUBJECT TO THE FAMILY
                                                       EDUCATIONAL RIGHTS AND PRIVACY
14 STEPHEN PEREZ, in his capacity as                   ACT (FERPA), 20 U.S.C. § 1232g
   President of San Jose University; et al.,
15
                  Defendant.
16                                                     Judge:    Hon. Beth Labson Freeman

17

18          Defendants Stephen Perez, Interim President of San Jose State University (“SJSU”),

19 Vincent J. Del Casino, SJSU Provost, Walt Jacobs, former SJSU College of Social Sciences Dean,

20 Roberto Gonzalez, SJSU Department of Anthropology Chair, Charlotte Sunseri, SJSU NAGPRA

21 Coordinator, and Alisha Marie Ragland, SJSU Tribal Liaison (“Defendants”), maintain that the

22 Family Educational Rights and Privacy Act (“FERPA”), 20 U.S.C. § 1232g, applies to certain

23 documents responsive to the discovery requests that Plaintiff Elizabeth Weiss (“Plaintiff”) has

24 served on Defendants.

25          FERPA prohibits the disclosure of “education records” and “personally identifiable

26 information” contained therein, except in limited circumstances set forth in the statute.

27          Subsection (b)(2)(B) of FERPA provides that otherwise protected information may be

28 produced in compliance with judicial order, upon condition that any affected student is notified of
                                                                     Case No. 5:22-cv-00641-BLF
        [PROPOSED] ORDER COMPELLING PRODUCTION OF INFORMATION SUBJECT TO THE FAMILY
                  EDUCATIONAL RIGHTS AND PRIVACY ACT (FERPA), 20 U.S.C. § 1232g
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 1 the judicial order in advance of compliance therewith by the educational agency. 20 U.S.C. §

 2 1232g(b)(2)(B).

 3          The Court takes no position in this Order on whether FERPA applies to each of the

 4 individual documents in question. The parties apply for an entry of an order compelling

 5 production, subject to a protective order, of unredacted versions of otherwise discoverable

 6 documents that Defendants would redact or withhold based on their position that FERPA applies.

 7 Based on the parties’ application, and in the interests of party and judicial economy and efficiency,

 8 the Court hereby orders the following:

 9          1.      Upon approval of a protective order satisfactory to the Court, Defendants shall,
10 prior to production of unredacted documents responsive to Plaintiff’s discovery requests that

11 Defendants would otherwise withhold or redact based on FERPA, provide notice of this Order to

12 the affected students.

13          2.      Upon notice to the affected students, Defendants shall proceed diligently to mark

14 any non­privileged documents responsive to Plaintiff’s First Set of Requests for Production that

15 they would otherwise withhold or redact based on FERPA as “CONFIDENTIAL,” subject to the

16 protective order as entered, and produce them to Plaintiff within a reasonable time thereafter.

17          3.      If Defendants are unable to provide notice of this Order to an affected student

18 within a reasonable time of learning of the existence of discoverable information that they would,

19 in the absence of this Order, withhold or redact based on FERPA, Defendants shall proceed with

20 producing the information to Plaintiff as set forth herein, unredacted except for those redactions

21 related to the student who could not be notified.

22          4.      On a going forward basis, Defendants shall diligently provide notice of this Order
23 to any additional affected students as they are identified, even if it believes that, in the absence of

24 this Order, that information would be protected from disclosure by FERPA. Defendants shall then

25 produce non-privileged, responsive documents to Plaintiff as set forth herein.

26

27     DATED: September 30, 2022
                                                       Honorable Beth Labson Freeman
28
                                                       Honorable Susan van Keulen
                                                       -2-                       Case No. 5:22-cv-00641-BLF
                                      STIPULATED PROTECTIVE ORDER
